Fill in this information to identify the case:

 

Debtor 1 Lucia Teresa Gedo

 

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF FLORIDA

 

Case number _15-17362

 

 

Official Form 41081
Notice of Mortgage Payment Change 12/15

 

 

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: CITIBANK, N.A. ; ;
Court claim no. (if known): 1

Date of payment change:

Must be at least 21 days after date 07/01/2020
of this notice

 

Last 4 digits of any number you use to New total payment:
identify the debtor’s account: 6236

Ea Escrow Account Payment Adjustment

1. Will there be a change in the debtor’s escrow account payment?

OJ No

(@ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
the basis for the change. If a statement is not attached, explain why:

§ 815.71
Principal, interest, and escrow, if any

 

 

Current escrow payment: $ 41.89 New escrow payment:  $ 43.88

Mortgage Payment Adjustment

 

2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
variable-rate account?
No
Ol Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
attached, explain why:

 

 

Current interest rate: % New interest rate: %

Current principal and interest payment: $ New principal and interest payment: $

Er Other Payment Change

3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?

No
Ol Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
(Court approval may be required before the payment change can take effect.)

Reason for change:

 

Current mortgage payment: $ New mortgage payment: $

Official Form 41081 Notice of Mortgage Payment Change page 1
Case 15-17362-RAM Doc. Filed 05/08/20 Page 2of11

Debtor 1 Lucia Teresa Gedo Case number (if known) _15-17362

 

 

First Name Middle Name Last Name

a Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.

Check the appropriate box.
Ol | am the creditor.

(M | am the creditor's authorized agent.

| declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.

 

 

 

 

 

X js/ Ame OBrien Date 05/08/2020
Signature
Print: Arne O'Brien Title Assistant Vice President
Company Bank of America
Address 4161 Piedmont Parkyway
Number Street

Greensboro, NC 27410
City State ZIP Code

 

Contact phone (336) 854-6308 Email arne.obrien@BofA.com

 

Official Form 41081 Notice of Mortgage Payment Change page 2
Case 15-17362-RAM Doc. Filed 05/08/20 Page 3of11

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA ( MIAMI DIVISION)

Chapter: 13 No. 15-17362
In re: Judge: ROBERT A MARK

Lucia Teresa Gedo

Debtor(s).

CERTIFICATE OF SERVICE

| hereby certify that on 05/08/2020, | have served a copy of this Notice and all attachments to the
following by U.S. Mail, postage pre-paid, or via filing with the US Bankruptcy Court's CM ECF system.

By U.S. Postal Service First Class Mail Postage Prepaid:

Debtor: Lucia Teresa Gedo
210 172nd St Apt 527
Sunny Isles Beach, FL 33160-3436

Debtor's ROBERT SANCHEZ, ESQ
Attorney: 355 W 49th St
Hialeah, FL 33012-3715

Trustee: NANCY K. NEIDICH
PO Box 279806
Miramar, FL 33027-9806

/s/ rene Zhao

 

LCI

(as Authorized Agent for Bank of America N.A.)
111 Anza Blvd Suite 310

Burlingame, CA 94010

650.342.9486 (x250)

izhao@lciinc.com
>
Bankof America 7
Notice Date: 04/24/2020
quran sec Loan No: —
TAMPA, FL 33631-3785 Property Address: 210 172ND ST APT 527
NORTH MIAMI BEACH, FL 33160
LUCIA GEDO

210 172ND ST APT 527
SUNNY ISLES BEACH FL 33160

LUCIA GEDO,

Here’s your Escrow Account Statement - we’ve made it easier to read and understand based on your
feedback.

Your statement has three clear sections:

=" Section 1: Payment Details - explains your new monthly payment

= Section 2: Escrow History - shows all the payments into and out of your escrow account since your last Escrow
review

=" Section 3: Projected Escrow Payments - walks you through the account activity we expect to see during the next
12 months

We hope you like the new design of your statement and thank you for trusting us with your home loan needs.

C3_12204 ESCSTMTA 22345
Bank of America a

CUSTOMER SERVICE Escrow Account Disclosure Statement
PO BOX 31785
TAMPA, FL 33631-3785

Notice Date: 04/24/2020
Loan No.:

New Payment Effective Date: 07/01/2020
New Payment Amount: $815.71
Property Address: 210 172ND ST APT 527

NORTH MIAMI BEACH, FL 33160
LUCIA GEDO

210 172ND ST APT 527
SUNNY ISLES BEACH FL 33160

LUCIA GEDO,

Every year, we review your escrow account to make sure there will be enough money to cover your tax and insurance payments
for the next year. We've adjusted your monthly payment and it looks like there may be a surplus left in your account even after
your taxes and/or insurance are paid. To determine if you have an actual surplus of escrow funds, we will review the account for
any escrow amounts that remain unpaid from the period before your bankruptcy filing or otherwise due under the terms of your
Chapter 13 plan. This adjustment is necessary to ensure your current escrow account balance truly has a surplus of funds. If
your account still shows a surplus after this review and is current under the terms of your Chapter 13 plan, we'll send you a
refund in accordance with applicable law.

Explanation of Escrow Account in Bankruptcy

Our records indicate this account is subject to bankruptcy protection. We are sending this escrow statement for informational
purposes only. It should not be construed as a demand for payment or an attempt to collect a debt or to modify the terms of
any bankruptcy court order or bankruptcy plan. Please note the bankruptcy plan may provide for a trustee to remit payments for
mortgage amounts due prior to and after the bankruptcy filing.

Per your loan agreement, we put part of your monthly mortgage payment into your escrow account to pay for your property
taxes and insurance premiums. During the year, we make payments out of your escrow account when your tax and insurance
bills come due. If your tax or insurance bills increase or decrease, how much you need to pay into your escrow account to cover
those obligations will also change. This notice describes any changes needed in your monthly mortgage payment to maintain
enough money in your escrow account to pay these bills. The detail information in this notice explains how your new escrow
payment is calculated.

If this is your first escrow statement after a Chapter 13 bankruptcy filing, we performed this escrow account review as
of the bankruptcy petition date and updated the new monthly escrow payment in accordance with applicable bankruptcy law. If
you previously received a monthly coupon for the same due date, the payment amount below replaces that coupon, which was
prepared before we had notice of the Chapter 13 bankruptcy filing.

Bank of America, N.A. is required by law to inform you that this communication is from a debt collector. If you are currently in a
bankruptcy proceeding or have previously obtained a discharge of this debt under bankruptcy law, this notice is for informational
purposes only and is not an attempt to collect a debt, a demand for payment or an attempt to impose personal liability for a
discharged debt.

2018 Bank of America Corporation

C3_12204 ESCSTMTA 22345
Case 15-17362-RAM Doc

Filed 05/08/20 Page 6 of 11

New Payment Amount
Your Total Monthly Mortgage Payment is changing starting 07/01/2020.

 

Current Payment

New Payment New Monthly Payment

 

 

Principal and/or interest $771.83 $771.83
Monthly Escrow Payment $41.89 $43.88 $815.71
Tax $41.89 $43.88
Insurance $0.00 $0.00 See Projected Escrow Payments Section for details
Mortgage Insurance $0.00 $0.00
Monthly Escrow Shortage / Overage Adjustment $0.00 $0.00
Total Payment Amount $813.72 $815.71

 

C3_12204 ESCSTMTA 22345
Case 15-17362-RAM Doc

Escrow History
Here’s what happened in your escrow account since our last review compared to what we projected to happen. If there were
changes to your taxes and/or insurance, they’re bolded and highlighted below. This may help explain why your account balance
was different than what was predicted last year. We’ve marked your lowest minimum balances with an asterisk (*)

Filed 05/08/20 Page 7 of 11

If you recently filed a Chapter 13 bankruptcy, we have provided below a side-by-side comparison of your prior
projected escrow account activity to the actual account activity.

If this is an annual escrow statement provided during your Chapter 13 bankruptcy, then the projected escrow account
activity below was performed in accordance with the terms of your Chapter 13 plan. At the same time, we also maintained a
separate accounting that reflected your escrow account activity as indicated under the terms of your loan documents outside of
bankruptcy (shown below under the heading "Actual"). The Actual escrow activity includes both the receipt of your regular
monthly mortgage payments to escrow and any cure payments made under the terms of your Chapter 13 plan for escrow
amounts due from the period before your bankruptcy filing or otherwise due under your Chapter 13 plan. Below is the
side-by-side comparison of the plan projected activity to the actual activity for last year. Upon the completion of your Chapter
13 plan, if all payments due under the Chapter 13 plan are received and taxes and insurance were paid in the amounts
anticipated, then the projected and actual ending balances should match. If you are unable to complete your Chapter 13 plan
payments and your case is dismissed, converted to a Chapter 7 or the automatic stay is lifted, then the actual accounting

shown below will be used in performing your next escrow analysis.

 

Payments Into Escrow

Payments From Escrow

Escrow Balances

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Your Expected What we Paid What we Actual Last Year's
Month Payment to Payment to Description Expected to Pay | Description Estimated
From Escrow Balance
Escrow Escrow From Escrow Balance
Beginning $218.95 $513.86
balance
07/2019 $41.89 | Jul Payment $218.95 $555.75
07/2019 $42.13 Dec Payment $261.08 $555.75
08/2019 $41.89 | Aug Payment $261.08 $597.64
08/2019 $42.13 Jan Payment $303.21 $597.64
08/2019 $42.13 Feb Payment $345.34 $597.64
08/2019 $42.13 Mar Payment $387.47 $597.64
09/2019 $41.89 | Sep Payment $387.47 $639.53
09/2019 $42.13 Apr Payment $429.60 $639.53
09/2019 $42.13 May Payment $471.73 $639.53
10/2019 $41.89 | Oct Payment $471.73 $681.42
10/2019 $42.13 Jun Payment $513.86 $681.42
10/2019 $41.89 Jul Payment $555.75 $681.42
10/2019 $41.89 Aug Payment $597.64 $681.42
10/2019 $41.89 Sep Payment $639.53 $681.42
11/2019 $41.89 $41.89 | Nov Payment $526.51 $502.71 | County taxes $154.91* $220.60*
11/2019 $41.89 Oct Payment $196.80 $220.60
12/2019 $41.89 $41.89 | Dec Payment $238.69 $262.49
12/2019 $41.89 Jan Payment $280.58 $262.49
01/2020 $41.89 | Jan Payment $280.58 $304.38
01/2020 $41.89 Feb Payment $322.47 $304.38
01/2020 $41.89 Mar Payment $364.36 $304.38
02/2020 $41.89 | Feb Payment $364.36 $346.27
02/2020 $41.89 Apr Payment $406.25 $346.27
02/2020 $41.89 May Payment $448.14 $346.27
03/2020 $41.89 | Mar Payment $448.14 $388.16
03/2020 $41.89 Jun Payment $490.03 $388.16
04/2020 $41.89 | Apr Payment $490.03 $430.05
05/2020 $41.89 | May Payment $490.03 $471.94
06/2020 $41.89 | Jun Payment $490.03 $513.83
C3_12204 ESCSTMTA 22345
 

Case 15-17362-RAM Doc

Filed 05/08/20 Page 8 of 11

Section 2 continued

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Payments Into Escrow Payments From Escrow Escrow Balances
Your Expected What we Paid What we Actual Last Year's
Month Payment to Payment to Description From Escrow Expected to Pay | Description Balance Estimated
Escrow Escrow From Escrow Balance
Ending
Total $797.59 $502.68 $502.71 | balance $490.03 $513.83
Summary of Escrow Payments Actual Expected
Total Payments Into Escrow $797.59 $502.68
Monthly Payments $797.59 $502.68
Total Payments From Escrow $526.51 $502.71
Taxes $526.51 $502.71

 

 

 

 

 

This estimate assumes you'll make the scheduled payments shown above.
Case 15-17362-RAM Doc_ Filed 05/08/20 Page 9of11

 

Projected Escrow Payments

 

Here’s a summary of what we expect to happen in your escrow account over the next year. We used this information to
estimate your new monthly payment.

 

County taxes $526.51

 

 

Total Expected Escrow Disbursements: $526.51

 

 

To estimate your monthly escrow payment, we total the expected payments to tax and/or insurance and divide by 12 months:
$526.51/12 = $43.88

Your estimated escrow account payments over the next 12 months
The numbers in this table assume your scheduled mortgage payments will be made. The Post-Petition Beginning and Ending
balances referenced in the chart below are projected balances, which assume all payments due under your bankruptcy plan will
be made, including regularly scheduled mortgage payments due after the bankruptcy filing and payments to cure amounts due
prior to the bankruptcy filing.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Month Your Payment to Tax Payment(s) Insurance Payment(s) | Mortgage Insurance Expected Escrow
Escrow (MIP/PMI) Payment(s) Balance
Post petition $490.03
beginning balance
07/2020 $43.88 $0.00 $0.00 $0.00 $533.91
08/2020 $43.88 $0.00 $0.00 $0.00 $577.79
09/2020 $43.88 $0.00 $0.00 $0.00 $621.67
10/2020 $43.88 $0.00 $0.00 $0.00 $665.55
11/2020 $43.88 $526.51 $0.00 $0.00 $182.92
12/2020 $43.88 $0.00 $0.00 $0.00 $226.80
01/2021 $43.88 $0.00 $0.00 $0.00 $270.68
02/2021 $43.88 $0.00 $0.00 $0.00 $314.56
03/2021 $43.88 $0.00 $0.00 $0.00 $358.44
04/2021 $43.88 $0.00 $0.00 $0.00 $402.32
05/2021 $43.88 $0.00 $0.00 $0.00 $446.20
06/2021 $43.88 $0.00 $0.00 $0.00 $490.08
Post petition ending $490.08
balance

 

 

 

 

 

 

 

 

C3_12204 ESCSTMTA 22345
Case 15-17362-RAM Doc_ Filed 05/08/20 Page 10 of11

Based on this year’s review, your escrow account has a potential overage of $95.52. This was calculated based on the
lowest projected balance which is bolded in the table above.

Since your projected minimum balance is higher than the required minimum balance, your account has a potential overage.
Using your Post-Petition Beginning balance, the projections above reflect that your Lowest Projected Balance (LPB) exceeds
the required minimum balance and that there is a potential overage. However, your Lowest Projected Balance (LPB) assumes
that you are current in making payments that were due after your bankruptcy filing and that you have paid all escrow amounts
due from the period before your bankruptcy filing. If you still have several months or years prior to the completion of your
Chapter 13 plan, then you may not have an actual overage. To determine if you have an actual overage of escrow funds, Bank of
America, N.A. will adjust the potential overage to account for any escrow amounts that remain unpaid from the period before
your bankruptcy filing or otherwise due under the terms of your Chapter 13 plan. This adjustment is necessary to ensure your
current escrow account balance has a surplus of funds. If your account still shows an overage and is current under the terms of
your Chapter 13 plan, we'll send you a refund in accordance with applicable law. The required minimum balance (which is also
sometimes called a cushion), may include up to two months of escrow payments (not including your mortgage insurance) to
help cover increases to your taxes and homeowner’s insurance. Your account’s current cushion is $87.40.

 

Projected Minimum Balance $182.92
minus

Required Minimum Balance $87.40

Escrow Overage Amount $95.52

 

 

 

Please let us know if you have any questions. You can call us at 800-669-6607, Monday-Friday 8a.m. to 9p.m. ET. You can
review your account anytime at www.bankofamerica.com.

C3_12204 ESCSTMTA 22345
PO

PO FO PO

PO

PO

PO Pe

Case 15-17362-RAM Doc_ Filed 05/08/20 Page 11of11

FREQUENTLY ASKED QUESTIONS

Why am | getting this Escrow Account Disclosure Statement?
We want to make sure you understand any payment changes. Your escrow payment amount for the upcoming year may
change due to increased or decreased taxes and/or insurance. This statement provides details about any payment changes.

What is an Escrow Analysis?
We do an Escrow Analysis at least once a year to determine if the amount of money in your escrow account is enough for
next year’s expected tax and/or insurance payments.

What are the most common reasons for my escrow payment change?
The most common reasons for a payment change are changes to your property taxes and/or insurance premiums.

What is an Escrow Overage?

An Escrow Overage happens when our Escrow Analysis shows you’ve got more money in your escrow account than the
required minimum balance. To determine if you have an actual overage of escrow funds, Bank of America, N.A. will adjust
the potential overage to account for any escrow amounts that remain unpaid from the period before your bankruptcy filing
or otherwise due under the terms of your Chapter 13 plan. This adjustment is necessary to ensure your current escrow
account balance has a surplus of funds. If your account still shows an overage and is current under the terms of your
Chapter 13 plan, we'll send you a refund in accordance with applicable law.

What is an Escrow Shortage?

An Escrow Shortage happens when our Escrow Analysis shows there’s not enough money in your account to meet the
required minimum balance. We'll adjust your monthly payment to make up the shortage or, if you prefer, you can cover the
shortage by making a one-time payment.

What is a Required Minimum Balance?

The required minimum balance is the smallest amount of money you can have in your account at any time during the year.
The required minimum balance, also called a cushion, may include up to two months of escrow payments minus mortgage
insurance to cover potential increases to your taxes and homeowner’s insurance.

Who should | contact about tax or insurance changes that increased my monthly escrow payment?
Contact your local tax authority or insurance agent with questions about any tax or insurance payment changes.

Can | include the total Escrow Shortage amount with my monthly mortgage payment?

You have the option to pay the balance in full or to spread it over the next 12 months. If you choose to pay the escrow
shortage in full, the escrow shortage amount must be sent separately, along with the payment coupon Included with this
statement.

Do | need to take any actions if | have recurring mortgage payments scheduled through an online bill payment
service?

Yes. The payment amount will not update automatically. If you make recurring payments from a Bank of America account,
visit Online Banking to update the amount of any scheduled payments in Transfers, Bill Pay or Mortgage Pay on the Web.
For payments made through another institution, please follow their process for changing your payment amount.

C3_12204 ESCSTMTA 22345
